           Case 3:06-cr-05350-RBL       Document 55      Filed 11/01/06     Page 1 of 2



 1                                                          JUDGE RONALD B. LEIGHTON
 2

 3

 4

 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT TACOMA
 7
     UNITED STATES OF AMERICA,                )      NO. CR06-5350RBL
 8                                            )
                  Plaintiff,                  )
 9                                            )      ORDER GRANTING STIPULATED
                  vs.                         )      MOTION TO CONTINUE TRIAL
10                                            )      DATE AND PRETRIAL MOTIONS
     JOSE LUIS CAMPOS,                        )      DUE DATE
11 CARLOS ROMALLIS DANIELS, and               )
     MIGUEL ANGEL PERALTA                     )
12 ALONZO,                                    )
                                              )
13                Defendants.                 )
                                              )
14

15         Based on the stipulated motion of the parties to continue the trial date, and the
16 affidavit of defense counsel in support of the motion, the Court makes the following

17 findings of fact and conclusions of law:

18         1. The ends of justice served by granting this continuance outweigh the best
19 interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).

20         2. Proceeding to trial absent adequate time for the defense to prepare would
21 result in a miscarriage of justice. 18 U.S.C. §3161(h)(8)(B)(i).

22         3. The defense needs additional time to explore issues of some complexity,
23 including all relevant issues and defenses applicable to the case, which would make it

24 unreasonable to expect adequate preparation for pretrial proceedings or for trial itself

25 within the time limits established by the Speedy Trial Act and currently set for this case.

26 18 U.S.C. § 3161(h)(8)(B(ii).

     ORDER GRANTING STIPULATED MOTION                                   FEDERAL PUBLIC DEFENDER
                                                                                      1331 Broadway, Ste. 400
     TO CONTINUE TRIAL DATE & PTM’s DUE DATE        1                             Tacoma, Washington 98402
     CR06-5350RBL                                                                             (253) 593-6710
           Case 3:06-cr-05350-RBL      Document 55           Filed 11/01/06   Page 2 of 2



 1         4. Taking into account the exercise of due diligence, a continuance is necessary
 2 to allow the defendant the reasonable time for effective preparation his defense. 18

 3 U.S.C. § 3161(h)(8)(B)(iv).

 4         NOW, THEREFORE,
 5         IT IS HEREBY ORDERED that the trial date is continued from November 27,
 6 2006 to April 9, 2007, at 9:00 am. The resulting period of delay from November 27,

 7 2006, to April 9, 2007, is hereby excluded for speedy trial purposes under 18 U.S.C. §

 8 3161(h)(8)(A) and (B).

 9         Pre-trial motions are due no later than November 20, 2006.
10         Pre-trial motions hearing shall be on January 17, 2007, at 9:00 am.


                                             A
11
           IT IS SO ORDERED this 1st day of November, 2006.
12
                                             RONALD B. LEIGHTON
13                                           UNITED STATES DISTRICT JUDGE
14

15 Presented By:

16

17 /s/                                                 /s/
18 Russell V. Leonard                                  Matthew H. Thomas
     Attorney for Mr. Campos                           Assistant United States Attorney
19

20
     /s/_____________________________                  /s/______________________________
21 Phil I. Brennan, Jr.                                John J. Kannin, IV
     Attorney for Mr. Peralta Alonzo                   Attorney for Mr. Daniels
22

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25

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     ORDER GRANTING STIPULATED MOTION                                     FEDERAL PUBLIC DEFENDER
                                                                                       1331 Broadway, Ste. 400
     TO CONTINUE TRIAL DATE & PTM’s DUE DATE       2                               Tacoma, Washington 98402
     CR06-5350RBL                                                                              (253) 593-6710
